      Case: 1:21-cv-06082 Document #: 59 Filed: 02/01/22 Page 1 of 3 PageID #:1193




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS

GROUPON, INC.,                                         )
                                                       )
                         Plaintiff,                    ) Case No. 1:21-cv-06082
                                                       )
       v.                                              ) Honorable Judge Charles P. Kocoras
                                                       )
SUNG SHIN,                                             )
                                                       )
                        Defendant.                     )

                          APPELLANT’S DOCKETING STATEMENT

            NOW COMES THE APPELLANT, Sung Shin, by his attorney, pursuant to Seventh

Circuit Rule 3(c)(1) and hereby states as follows:

            1.    There have been no prior or related appellate proceedings in this case.

            2.    This is an interlocutory appeal pursuant to 28 U.S.C. § 1292, FRAP 3, and from

an order dated January 6, 2022 granting Plaintiff Groupon, Inc.’s Motion for Preliminary

Injunction (Dkt. No. 50) that precludes Defendant Sung Shin from working at Yelp, Inc., among

other terms. This is also an appeal from this Court’s minute order on January 28, 2022 denying

Defendant Shin’s Motion to Dismiss for Lack of Personal Jurisdiction (Fed. R. Civ. P. 12(b)(2)),

or in the Alternative, Motion to Transfer Venue (Dkt. No. 54). This Court’s denial of Defendant

Shin’s Motion to Dismiss, or in the Alternative, Motion to Transfer Venue is “inextricably

intertwined” with the Court’s grant of the Plaintiff’s preliminary injunction motion, making it

appealable now too under pendant jurisdiction before the Court of Appeals. See Rsch.

Automation, Inc. v. Schrader-Bridgeport Int'l, Inc., 626 F.3d 973, 976–77 (7th Cir. 2010)

(citations omitted).




19248 pb016701
      Case: 1:21-cv-06082 Document #: 59 Filed: 02/01/22 Page 2 of 3 PageID #:1194




            3.   The District Court had jurisdiction over the subject matter of this case pursuant to

28 U.S.C. § 1331. Federal question jurisdiction is based upon Groupon’s claims under the

Defend Trade Secrets Act of 2016, 18 U.S.C. § 1836, et seq.

            4.   The dates of entry of the orders sought to be reviewed are January 6, 2022 and

January 28, 2022.

            5.   No motion for new trial or a motion to reconsider the judgment was filed.

            6.   No motions were filed which claim to toll the time within which to appeal.

            7.   The filing date of the Notice of Appeal is January 28, 2022.



DATED:           February 1, 2022              MacDONALD HOAGUE & BAYLESS

                                               By: /s/ Jesse Wing
                                                    Jesse Wing, Illinois Bar #90784355
                                                    Jeffrey Taren, Illinois Bar #2796821
                                                    705 Second Avenue, Suite 1500
                                                    Seattle, WA 98104
                                                    Phone: (206) 622-1604
                                                    Email: jessew@mhb.com
                                                              jeffreyt@mhb.com
                                                    Attorneys for Defendant Sung Shin




                                                  -2-
19248 pb016701
      Case: 1:21-cv-06082 Document #: 59 Filed: 02/01/22 Page 3 of 3 PageID #:1195




                                    CERTIFICATE OF SERVICE

            The undersigned further certifies that on February 1, 2022, she electronically filed the

foregoing Appellant’s Docketing Statement with the Clerk of Court using the CM/ECF system

which will send notification to the following counsel of record:

            Kevin M. Cloutier (6273805)
            Shawn D. Fabian (6310637)
            SHEPPARD MULLIN RICHTER & HAMPTON LLP
            70 West Madison Street, 48th Floor
            Chicago, Illinois 60602
            Tel: (312) 499-6300
            Fax: (313) 499-6301
            kcloutier@sheppardmullin.com
            sfabian@sheppardmullin.com
            Attorneys for Plaintiff Groupon, Inc.


                                                       /s/ Trish Weissmann
                                                Trish Weissmann, Legal Assistant




                                                  -3-
19248 pb016701
